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18                                  UNITED STATES DISTRICT COURT

19                                NORTHERN DISTRICT OF CALIFORNIA

20
      U.S. EQUAL EMPLOYMENT                           Case No.: 3:23-cv-04984-JSC
21    OPPORTUNITY COMMISSION,
22                   Plaintiff,                       STIPULATION AND [PROPOSED]
23                                                    ORDER EXTENDING DEADLINE TO
             vs.                                      SUBMIT SECOND PROPOSED ESI
24                                                    PROTOCOL
      TESLA, INC.,
25
                     Defendant.
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STIP & [PROPOSED] ORDER EXTENDING
                                                                            Case No.: 3:23-cv-04984-JSC
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STIP & [PROPOSED] ORDER EXTENDING
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 1          Plaintiff U.S. Equal Employment Opportunity Commission (EEOC) and Defendant Tesla,
 2   Inc. (Tesla) (collectively, the Parties) jointly submit this request in accordance with Local Rules 6-2
 3   and 7-12 for the Court to extend by two weeks the deadline to submit a Second Proposed Protocol
 4   Regarding Electronically Stored Information, in accordance with Pretrial Order No. 2, (ECF 65).
 5          Plaintiff EEOC filed the Complaint in this matter on September 28, 2023. (ECF 1) On
 6   September 26, 2024, following a case management conference, the Court issued Pretrial Order No.
 7   2: Initial Discovery Period Deadlines (Pretrial Order No. 2) (ECF 65). Pretrial Order No. 2 set
 8   November 22, 2024, as the deadline for the parties to submit a Second Proposed Protocol Regarding
 9   Electronically Stored Information (Second ESI Protocol). Id.
10          There is good cause for the Court to extend this deadline by two weeks. The Parties have
11   been unable to finalize the Second ESI Protocol within the time allotted but anticipate doing so with
12   a modest amount of additional time. A two-week extension (to December 6, 2024) would enable the
13   parties to submit a second ESI Protocol or a dispute concerning the protocol ahead of the next Case
14   Management Conference, which is scheduled for December 12, 2024 (ECF 65). This extension,
15   furthermore, would not disrupt any other deadlines in this case.
16          Accordingly, the Parties respectfully request the Court enter an order extending the deadline
17   to submit the Second Stipulated Order Regarding ESI to December 6, 2024.
18                                              STIPULATION
19          WHEREAS, the Parties believe that good cause exists to extend the deadline to submit a
20   Second ESI Protocol by two weeks, as the Parties have been unable to complete it within the initial
21   allotted time;
22          WHEREAS, this extension would not disrupt any other deadlines in this case;
23          WHEREAS, the only previously requested continuance or extension to the Court’s deadlines,
24   was to vacate the Initial Case Management Conference until after the Court ruled on Tesla’s Motion
25   to Stay (ECF 23);
26   //
27   //
28   //

STIP & [PROPOSED] ORDER EXTENDING
2ND PROPOSED ESI PROTOCOL DEADLINE
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 1           THEREFORE, it is hereby stipulated and agreed that, subject to Court approval, the deadline
 2   to submit the Second ESI Protocol is extended to December 6, 2024.
 3   IT IS SO STIPULATED.
 4   Respectfully submitted,
 5   Dated: November 22, 2024
 6    ROBERTA STEELE                                                KARLA GILBRIDE
      Regional Attorney                                             General Counsel
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 8    Assistant Regional Trial Attorney                             Deputy General Counsel
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STIP & [PROPOSED] ORDER EXTENDING
2ND PROPOSED ESI PROTOCOL DEADLINE
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 1                                LOCAL RULE 5-1(I)(3) ATTESTATION
 2            I, James H. Baker, am the ECF User whose ID and password are being used to file the
 3   foregoing document. In compliance with Local Rule 5-1(i)(3), I hereby attest that counsel for
 4   Defendant concurred in this filing on November 22, 2024.
 5   Dated: November 22, 2024
 6
                                                         BY:     /s/ James H. Baker
 7                                                              James H. Baker
 8

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10
                                           [PROPOSED] ORDER
11
     PURSUANT TO STIPULATION, IT IS SO ORDERED THAT:
12
              The deadline to submit a Second Proposed Protocol Regarding Electronically Stored
13
     Information in accordance with Pretrial Order No. 2 (ECF 65) is extended to December 6, 2024.
14

15
     Dated:
16                                                      HON. JACQUELINE S. CORLEY
                                                        United States District Court Judge
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STIP & [PROPOSED] ORDER EXTENDING
2ND PROPOSED ESI PROTOCOL DEADLINE
                                                         3                         Case No.: 3:23-cv-04984-JSC
